     Case 1:12-cr-00341-LJO-SKO Document 162 Filed 07/11/14 Page 1 of 2


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 6

 7                      IN THE UNITED STATES DISTRICT COURT FOR THE

 8                               EASTERN DISTRICT OF CALIFORNIA

 9

10   UNITED STATES OF AMERICA, )                  CASE NO. 1:12-cr-00341 LJO
                                   )
11         Plaintiff,              )
                                   )              STIPULATION AND ORDER TO
12      v.                         )              MODIFY SPECIAL CONDITIONS
                                   )              OF PROBATION NUMBER 6
13
     THAVONE ONSYPHANLA,           )
14                                 )
            Defendant.             )
15   _____________________________ )

16          The parties hereto, by and through their respective attorneys, stipulate and agree that the
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     court may modify special condition of probation number 6 to read as follows: As directed by the
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     probation officer, the defendant shall complete up to twenty hours of unpaid community service
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     per week until employed for at least thirty hours per week or participating in a previously
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     approved educational or vocational program. The probation officer shall treat as employment, for
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22   purposes of this condition, all hours expended by the defendant caring for his wife, Manni

23   Onsyphanla.
24

25
     DATED: July 10, 2014                         /s/ Karen Escobar              _________
26                                                KAREN ESCOBAR
                                                  Assistant United States Attorney
27                                                This was agreed to by Ms. Escobar
                                                  via email July 10, 2014
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                                                      1
     Case 1:12-cr-00341-LJO-SKO Document 162 Filed 07/11/14 Page 2 of 2


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 2

 3
     DATED: July 10, 2014               /s/ Roger K. Litman ___________ __
 4                                      ROGER K. LITMAN
                                        Attorney for Defendant
 5                                      THAVONE ONSYPHANLA
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 7
     IT IS SO ORDERED.
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        Dated:   July 11, 2014                   /s/ Lawrence J. O’Neill
 9                                            UNITED STATES DISTRICT JUDGE
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